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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA              )
                                      )     No. 15 CR 629
            v.                        )
                                      )     Honorable Thomas M. Durkin
SALVATORE GALIOTO                     )


                  GOVERNMENT’S MOTION TO DISMISS
            THE INDICTMENT AND SUPERSEDING INDICTMENT

      The UNITED STATES OF AMERICA, by and through its attorney, JOHN R.

LAUSCH, JR., hereby moves, pursuant to Federal Rule of Criminal Procedure 48(a)

to dismiss the Indictment and all remaining counts of the Superseding Indictment in

the above-captioned matter.



                                      Respectfully submitted,

                                      JOHN R. LAUSCH, JR.
                                      United States Attorney

                               By:    s/ Timothy J. Chapman
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